


  A “Joint Motion to Withdraw Petition For Rehearing and to Dismiss Appeal” was filed on August 7, 2001 and is now before the court.
 

  On June 29, 2001 we reversed the judgment of the district court and directed that the State of Indiana release or retry the petitioner within 120 days. The state filed a Petition for Rehearing En Banc, which has been stayed pending further order. The parties have settled the case and now jointly move this court to withdraw the petition for rehearing and voluntarily dismiss this appeal.
 

 
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  The state may of course withdraw the petition for rehearing, but the court will not dismiss an appeal after the appeal has been decided.
  
   Cf. U.S. Bancorp Mortgage Co. v. Bonner Mall Partnership,
  
  513 U.S. 18, 115 S.Ct. 386, 130 L.Ed.2d 233 (1994). However, we shall change the terms of the remand to conform to the agreed disposition of the case. Accordingly,
 

  IT IS ORDERED that this court’s order directing the district court to issue a conditional writ of habeas corpus and the award of costs are VACATED and the petition for rehearing is DISMISSED.
 
